     Case 1:23-cv-00707-DAE         Document 89-1        Filed 07/07/25     Page 1 of 1



                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION


NATIONAL INFUSION CENTER
ASSOCIATION et al.,

                  Plaintiffs,

        v.                                        Case No. 1:23-cv-00707-DAE

ROBERT F. KENNEDY, JR., in his official
capacity as Secretary of Health and Human
Services, et al.,

                  Defendants.



                                  [PROPOSED] ORDER
      Upon consideration of Defendants’ motion to withdraw appearance, it is hereby

      ORDERED that the motion is granted; and it is further

      ORDERED that the appearance of Cassandra M. Snyder be withdrawn from this case.

      SO ORDERED.

      DATED: Austin, Texas _______________________, 2025.


                                                  ________________________________
                                                  David Alan Ezra
                                                  UNITED STATES DISTRICT JUDGE
